     Case 1:12-cr-00101-RJA-HKS   Document 272   Filed 01/18/17   Page 1 of 6



UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


RASHEED GRAY,                                No. 1:12-CR-00101 (MAT)
                                             No. 1:15-CV-00229 (MAT)
                                  Movant,
             -vs-                            DECISION AND ORDER
UNITED STATES OF AMERICA,

                             Respondent.



I.     Introduction

       Proceeding pro se, movant Rasheed Gray (“Gray” or “movant”),

a federal prisoner, has requested permission to proceed in forma

pauperis pursuant to 28 U.S.C. § 1915. Doc. 235. The Court has

reviewed plaintiff’s submissions in connection with his motion to

proceed in forma pauperis, finds that he meets the statutory

requirements, and therefore grants his request to proceed as a poor

person.

       On October 15, 2013, Gray was convicted, upon his plea of

guilty, of one count of conspiracy to possess with intent to

distribute five kilograms or more of cocaine, in violation of 21

U.S.C. § 846. See doc. 113. On April 28, 2014, Gray was sentenced

to a term of 66 months imprisonment with a three-year term of

supervised release. See doc. 194. Presently before the Court is

Gray’s motion to vacate his sentence pursuant to 28 U.S.C. § 2255.

Doc. 238. For the reasons discussed below, plaintiff’s motion is

denied.

II.    Background
  Case 1:12-cr-00101-RJA-HKS       Document 272       Filed 01/18/17     Page 2 of 6



     Gray’s conviction arose out of a series events which occurred

between approximately November 2011 through March 30, 2012. Gray,

along with seven co-defendants, conspired to possess five kilograms

or more of cocaine. A confidential informant advised the DEA that

Gray and an uncharged co-conspirator operated a cocaine trafficking

organization which was responsible for importing approximately 50

kilograms of cocaine per month to Buffalo, New York from Chicago,

Illinois, utilizing Mexican couriers to transport cocaine and money

to and from Buffalo.

     Gray’s plea agreement contained a standard waiver of appellate

and collateral attack rights. Specifically, the plea agreement

stated that movant “knowingly waive[d] the right to appeal and

collaterally attack any component of a sentence imposed by the

Court which falls within or is less than the sentencing range for

imprisonment, a fine and supervised release set forth in Section

III, ¶ 15, above, notwithstanding the manner in which the Court

determines the sentence.” Doc. 113 at 7. Subsection III of the plea

agreement stated that the parties understood that Gray carried an

adjusted offense      level   of    36,       but   conceded to        a three-level

downward adjustment for the acceptance of responsibility.

     At his plea, Gray testified that he understood that he waived

his right to appeal and collaterally attack his sentence. He also

testified   that he    had    discussed        the   plea   agreement       with his

attorney and that he was satisfied and had no complaints regarding

his attorney’s advice and counsel. On April 18, 2014, Gray was


                                          2
     Case 1:12-cr-00101-RJA-HKS   Document 272    Filed 01/18/17    Page 3 of 6



sentenced to a term of imprisonment of 66 months with a three-year

period of supervised release. The Court (Arcara, J.) granted a

five-level reduction of his offense level at sentencing, due to

Gray’s    acceptance     of   responsibility     and   cooperation     with   the

government.

       On March 16, 2015, Gray filed the instant motion pursuant to

28 U.S.C. § 2255 to vacate, set aside, or correct his sentence.

Gray raises three grounds, arguing that (1) his conviction was

obtained pursuant to an unconstitutional search and seizure; (2)

his conviction was obtained by a violation of the privilege against

self-incrimination; and (3) he was denied effective assistance of

counsel.

III. Discussion

             A.     Waiver of Collateral Attack in the Plea Agreement

       Initially, the Court finds that Gray’s waiver of collateral

attack was entered knowingly and voluntarily. See United States v.

Roque, 421 F.3d 118, 122 (2d Cir. 2005) (finding that waiver was

knowing and voluntary where there was “no evidence [in the] record

to    suggest     that   [defendant]   was   ignorant    of   his    legal    and

constitutional rights in their then-present state”). Petitioner’s

waiver precludes the claims brought in grounds one and two of his

petition, the facts of which transpired prior to his plea. See

Summers v. United States, 2014 WL 4829207, *4 (W.D.N.Y. Sept. 29,

2014) (finding that valid collateral attack waiver applied to




                                       3
  Case 1:12-cr-00101-RJA-HKS   Document 272   Filed 01/18/17   Page 4 of 6



grounds arising both before and after plea agreement) (citing

Garcia–Santos v. United States, 273 F.3d 506, 509 (2d Cir. 2001)).

          B.     Ineffective Assistance of Counsel

     Gray argues that his counsel was ineffective because he

informed counsel of his beliefs that he was unconstitutionally

searched and that DEA agents denied him the right to counsel in an

interrogation, yet counsel advised him to plead anyway. He also

argues that counsel “did not explain [the] plea agreement . . . and

his reason was he expected leniency from the Judge because [Gray]

had no prior record.” Doc. 238 at 5.

     “[A] waiver of appellate or collateral attack rights does not

foreclose an attack on the validity of the process by which the

waiver has been procured, here, the plea agreement.” Frederick v.

Warden, Lewisburg Corr. Facility, 308 F.3d 192, 195 (2d Cir. 2002),

cert. denied, 537 U.S. 1146 (2003); El Saleh v. United States, 2016

WL 4734601, *3 (E.D.N.Y. Sept. 9, 2016) (“[A] defendant cannot be

bound by an appeal waiver if the decision to enter a plea agreement

was the product of counsel’s ineffective assistance”) (citing

United States v. Hernandez, 242 F.3d 110, 114 (2d Cir. 2001)).

Gray’s first argument does not relate to the process by which the

waiver was procured; therefore, it is foreclosed by his collateral

attack waiver.

     Gray’s second argument, that counsel failed to explain the

plea agreement, does relate to the process by which the waiver was

procured, and therefore the Court will address its merits. In order


                                   4
  Case 1:12-cr-00101-RJA-HKS    Document 272   Filed 01/18/17    Page 5 of 6



to prove ineffective assistance of counsel, a defendant must show

(1) “that counsel’s representation fell below an objective standard

of reasonableness;” and (2) “that there is a reasonable probability

that, but for counsel’s unprofessional errors, the result of the

proceeding would have been different.” Strickland v. Washington,

466 U.S. 668, 688 (1984). Where a defendant claims that counsel was

ineffective in recommending a guilty plea, “in order to satisfy the

‘prejudice’ requirement, the defendant must show that there is a

reasonable probability that, but for counsel’s errors, he would not

have pleaded guilty and would have insisted on going to trial.”

Hill v. Lockhart, 474 U.S. 52, 59 (1985).

     During his plea colloquy, Gray confirmed that he had discussed

the plea with counsel, he was satisfied with counsel, and he had no

complaints. Throughout the course of the lengthy colloquy, Gray

confirmed that he understood each provision of the written plea

agreement. Therefore, the record of Gray’s plea proceeding belies

his contention that counsel failed to adequately explain the plea

to him prior to the plea proceeding. See Blackledge v. Allison, 431

U.S. 63, 74 (U.S. 1977) (“Solemn declarations in open court carry

a strong presumption of verity. The subsequent presentation of

conclusory allegations unsupported by specifics is subject to

summary dismissal, as are contentions that in the face of the

record are wholly incredible.”); see also Cook v. Bradt, 2009 WL

3334792, *6 (W.D.N.Y. Oct. 9, 2009) (“The transcripts of the plea

colloquy   establish   that    petitioner’s    acceptance       of   the   plea


                                    5
  Case 1:12-cr-00101-RJA-HKS   Document 272   Filed 01/18/17   Page 6 of 6



agreement was in fact knowing and voluntary, where petitioner

answered affirmatively that he freely and voluntarily entered the

plea without any form of coercion and was explained in detail the

rights that he waived.”). Gray’s claim that he received ineffective

assistance of counsel is therefore dismissed.

III. Conclusion

     Gray’s motion to proceed in forma pauperis (doc. 235) is

granted. His motion to vacate and correct his sentence (Doc. 238)

is denied. The Court finds that petitioner has failed to make a

substantial showing of the denial of a constitutional right, see 28

U.S.C. § 2253(c)(2), and accordingly the Court denies a certificate

of appealability. The Clerk of the Court is directed to close Civil

Case No. 1:15-CV-00229.



     ALL OF THE ABOVE IS SO ORDERED.



                                        S/Michael A. Telesca

                                          HON. MICHAEL A. TELESCA
                                       United States District Judge

Dated:    January 18, 2017
          Rochester, New York.




                                   6
